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                                #:21796


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 9
      Plaintiffs’ Co-Lead Counsel
10

11
                          UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
     IN RE: NATIONAL FOOTBALL                Case No. 2:15-ml-02668-PSG (JEMx)
14   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION
15                                           DECLARATION OF SCOTT
     THIS DOCUMENT RELATES TO                MARTIN IN SUPPORT OF
16   ALL ACTIONS                             PLAINTIFFS’ MEMORANDUM IN
                                             SUPPORT OF PLAINTIFFS’
17                                           MOTION TO EXCLUDE THE
                                             OPINIONS OF MARK A. ISRAEL
18

19                                           JUDGE: Hon. Philip S. Gutierrez
                                             DATE: January 27, 2023
20                                           TIME: 1:30 p.m.
                                             COURTROOM:
21                                               First Street Courthouse
                                                 350 West 1st Street
22                                               Courtroom 6A
                                                 Los Angeles, CA 90012
23

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                                #:21797


 1
           I, Scott Martin, declare under penalty of perjury that the following is true and
 2
     correct:
 3
           1.     I am over the age of twenty-one (21) years and am a Partner at the law
 4
     firm of Hausfeld LLP. I am counsel of record for Plaintiffs Ninth Inning, Inc., 1465
 5
     Third Avenue Restaurant Corp., Robert Gary Lippincott, Jr., and Jonathan Frantz
 6
     and the proposed classes in the above-captioned litigation. I submit this declaration
 7
     in support of Plaintiffs’ Motion to Exclude the Opinions of Mark A. Israel.
 8
           2.     Attached as Exhibit 1 is a true and correct copy of the Expert Report of
 9
     Mark A. Israel, Ph.D., dated November 4, 2022.
10
           3.     Attached as Exhibit 2 are true and correct excerpts from the transcript
11
     of the deposition of Mark Israel, dated November 23, 2022.
12
           4.     Attached as Exhibit 3 is a true and correct copy of a document
13
     produced by the NFL Defendants bearing the bates numbered NFL_1060058–
14
     NFL_1060088.
15
           5.     Attached as Exhibit 4 are true and correct excerpts from the transcript
16
     of the deposition of Roger Goodell, dated June 16, 2022.
17
           6.     Attached as Exhibit 5 are true and correct excerpts from the transcript
18
     of the deposition of Brian Rolapp, dated May 18, 2022.
19

20
     I declare under penalty of perjury under the laws of the United States of America
21
     that the foregoing is true and correct.
22

23
           Signed this 2nd day of December 2022 in New York, New York.
24

25                                                 /s/ Scott Martin
                                                   Scott Martin
26
27

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